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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO.:

   LUTHERENE ANDERSON,

                 Plaintiff,

   vs.

   WELLS FARGO BANK, N.A.,

              Defendant.
  ________________________________________/

                                           COMPLAINT

          COMES NOW, the Plaintiff, Lutherene Anderson (―Plaintiff‖), by and through

  undersigned counsel, and brings this action against the Defendant, Wells Fargo Bank, N.A.

  (―Wells Fargo‖) and as grounds thereof would allege as follows:

                                         INTRODUCTION

         1.      This action is brought by a consumer for Wells Fargo’s violations of the

  Telephone Consumer Protection Act, 47 U.S.C § 227, et seq. (―TCPA‖) and Florida Statutes §§

  559.55-559.785, a/k/a the ―Florida Consumer Collection Practices Act‖ (―FCCPA‖).

         2.      The TCPA prohibits any person ―to make any call (other than for emergency

  purposes or made with the prior consent of the called party) using any automatic telephone

  dialing system or any artificial or prerecorded voice – (iii) to any telephone number assigned to a

  paging service, cellular telephone service, specialized mobile radio service, or other radio

  common carrier service, or any service for which the called party is charged for the call.‖ 47

  U.S.C. § 227(b)(1)(A).

         3.      The FCCPA prevent debt collectors and persons, respectively, from engaging in



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  abusive, deceptive, and unfair collection practices.

       4.        Plaintiff alleges that Wells Fargo has unlawfully called her cellular telephone in

  an attempt to collect an alleged debt from her in direct contravention of the aforesaid statutes.

  Consequently, Plaintiff seeks injunctive relief, as well as statutory damages, actual damages,

  attorneys’ fees, and costs, in accordance with the aforementioned statutes where applicable.

                                  JURISDICTION AND VENUE

       5.        This court has jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C. § 227. Federal

  courts have jurisdiction over private suits arising under the TCPA. Mims v. Arrow Financial

  Services, LLC, 132 S. Ct. 740 (2012).

       6.        Under 28 U.S.C. § 1367(a), this court has supplemental jurisdiction over

  Plaintiff's state law FCCPA claim in that it is so related to the federal TCPA claim that they form

  part of the same case or controversy under Article III of the United States Constitution.

       7.        Venue in this District is proper because Plaintiff resides here and Wells Fargo

  does business and places phone calls into this District.

                                              PARTIES

       8.         At all times relevant to this Complaint, Wells Fargo was and is a national bank,

  with its principal place of business at 420 Montgomery St., San Francisco, CA 94163.

       9.        At all times relevant to this Complaint, Wells Fargo was and is a ―person‖ as said

  term is defined under Florida Statute §1.01(3).

       10.       At all times relevant to this Complaint, Wells Fargo regularly uses the mail and

  telephone in a business for the purpose of collecting consumer debts.

       11.       At all times relevant to this Complaint, Wells Fargo has used, controlled, and/or

  operated ―automatic telephone dialing systems‖ as defined by the TCPA. 47 U.S.C. § 227(a)(1)




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  and 47 C.F.R. § 64.1200(f)(2).

       12.       At all times relevant to this Complaint, Plaintiff, was and is a natural person, and

  is a ―consumer‖ as that term is defined by Florida Statutes §559.55(8), and/or a person with

  standing to bring a claim under the FCCPA and the TCPA by virtue of being directly affected by

  violations of the Act.

       13.       At all times material hereto, the debt in question was a ―debt‖ as said term is

  defined under Florida Statute § 559.55(6).

                           BACKGROUND AND GENERAL ALLEGATIONS

       14.       Wells Fargo sought to collect a debt from Plaintiff arising from an alleged

  mortgage loan debt (the ―Debt‖) incurred by Plaintiff for personal, family, or household

  purposes.

       15.       Upon information and belief, Wells Fargo, by and through its agents,

  representatives and/or employees acting within the scope of their authority, attempted to collect

  the Debt from Plaintiff by using an automatic telephone dialing system to place numerous

  telephone calls to Plaintiff’s cellular telephone, (917) XXX-0621 and/or employed prerecorded

  or machine-operated voice message in connection with said calls.

       16.       Upon answering any of these calls, Plaintiff would be greeted by an automated,

  machine-operated voice message or a noticeable period of ―dead air‖ while the caller’s auto-

  dialing system attempted to connect the Plaintiff to a live telephone employee.

       17.       Plaintiff is the sole owner, possessor, subscriber and user of the cellular telephone

  that Wells Fargo was calling.

       18.       Wells Fargo’s calls originated from various numbers.

       19.       Wells Fargo called Plaintiff a multitude of times in a campaign designed to apply




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  maximum psychological stress with the aim of pressuring Plaintiff into paying the Debt.

       20.       Wells Fargo’s calls began in early 2016 after which the Plaintiff orally revoked

  her consent to be called on her cell phone.

       21.       After Plaintiff orally revoked her consent to be called on her cell phone, Wells

  Fargo continued to call her cell phone using an automatic telephone dialing system.

       22.       Wells Fargo’s placement of telephone calls to Plaintiff’s cellular telephone were

  unsolicited and incessant.

       23.       Plaintiff was damaged by these unlawful calls. Plaintiff’s privacy was improperly

  invaded, her peace was disturbed, she was distracted, her cellular telephone’s battery and

  memory were taxed, her cellular telephone line was tied-up, and she was forced to spend

  precious time and mental energy tending to unwanted calls.

       24.       None of Wells Fargo’s telephone calls placed to Plaintiff were for ―emergency

  purposes‖ as specified in 47 U.S.C. §227(b)(1)(A).

       25.       Upon information and belief, Wells Fargo knew that its calling techniques were in

  violation of the TCPA, yet Wells Fargo still continued to use them in willful or knowing

  violation of the TCPA.

             COUNT I-VIOLATION OF FCCPA, FLORIDA STATUTES §559.72(7)

       26.       Plaintiff repeats, realleges and incorporates by reference herein paragraphs 1

  through 25 above.

       27.       Florida Statutes §559.72(7) states:

                 ―In collecting debts, no person shall…
                 (7) Willfully communicate with the debtor or any member of her or
                 his family with such frequency as can reasonably be expected to
                 harass the debtor or her or his family, or willfully engage in other
                 conduct which can reasonably be expected to abuse or harass the
                 debtor or any member of her or his family.


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          28.       Wells Fargo has on many occasions called Plaintiff by telephone directly,

  multiple times a day, attempting to collect the Debt. By virtue of having to handle debt

  collection calls to Plaintiff's cellular phone multiple times a day, Plaintiff has been harassed and

  these calls have caused unnecessary strain and burden upon Plaintiff and Plaintiff’s family.

          29.       Wells Fargo’s actions of calling Plaintiff continuously and regularly day after day,

  multiple times a day, reasonably can be expected to have the natural consequences of harassing

  Plaintiff which was the intent of Wells Fargo in order to elicit payment from Plaintiff for the

  Debt.

          30.       Wells Fargo, through its agents, representatives and/or employees acting within

  the scope of their authority thereby knowingly violated Florida Statutes §559.72(7).

          31.       As a direct and proximate result of the violation of the FCCPA by Wells Fargo,

  Plaintiff has been damaged. Wells Fargo’s phone calls harmed Plaintiff by (1) trespassing upon

  and interfering with Plaintiff’s rights and interests in access to her cellular telephone and

  telephone line; (2) intruding upon Plaintiff’s seclusion and privacy; (3) wasting Plaintiff’s time

  and mental energy; (4) depleting the battery life on Plaintiff’s cellular telephone; (5) using

  memory storage space in Plaintiff’s cellular telephone; and (6) causing Plaintiff aggravation,

  indignation, humiliation, embarrassment, anxiety, anguish, depression, unwarranted stress and

  loss of enjoyment of life.

          32.       Plaintiff has hired Benjamin Law Practice, PLLC and The Law Firm of Anthony

  C. Norman, PLLC to represent Plaintiff in this action and has agreed to pay reasonable attorneys’

  fees and costs.

          33.       As a result of the above violations of the FCCPA, pursuant to Florida Statute

  §559.77(2), Plaintiff is entitled to recovery for actual damages, statutory damages of up to



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  $1,000.00 per violation, together with reasonable attorneys’ fees and court costs.

         WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant,

  Wells Fargo Bank, N.A. for actual damages, statutory damages, along with costs and reasonable

  attorneys’ fees pursuant to Florida Statutes § 559.77(2), and for such other and further relief as

  justice may require.

             COUNT II - VIOLATION OF FCCPA, FLORIDA STATUTES §559.72(9)

       34.       Plaintiff repeats, realleges and incorporates by reference herein paragraphs 1

  through 25 above.

       35.       Florida Statutes §559.72(9) states:

       “In collecting consumer debts, no person shall:

       (9) Claim, attempt, or threaten to enforce a debt when such person knows that
       the debt is not legitimate, or assert the existence of some other legal right when
       such person knows that the right does not exist.

       36.       To state a claim for violation under § 559.72(9) of the FCCPA, it must be alleged

  that the defendant asserted a legal right that did not exist and that the defendant had actual

  knowledge that the right did not exist. Pollock v. Bay Area Credit Service, LLC, 2009 WL

  2475167 at * 9 (S.D. Fla. Aug. 13, 2009). An allegation that an attempt to collect a debt in

  violation of state or federal law is sufficient to state a claim that defendant asserted a legal right

  that did not exist. Brook v. Suncoast Schools, FCU, 2012 WL 6059199 at * 3 (M.D. Fla. Dec. 6,

  2012) (complaint stated a plausible claim for relief where plaintiff alleged that defendant

  asserted a legal right that did not exist by attempting to collect a debt in violation of the

  FDUTPA and the TCPA).

       37.       As set forth in paragraphs 8 through 25 above, Wells Fargo has on a multitude of

  occasions called Plaintiff’s cellular telephone in violation of the TCPA’s prohibition on auto-




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  dialing cellphones without prior express consent.

       38.       By attempting to collected a debt in violation of the TCPA, Wells Fargo, through

  its agents, representatives and/or employees acting within the scope of their authority, asserted a

  legal right that did not exist in violation of Florida Statutes §559.72(9)

       39.       As a direct and proximate result of the violation of the FCCPA by Wells Fargo,

  Plaintiff has been damaged. Wells Fargo’s phone calls harmed Plaintiff by (1) trespassing upon

  and interfering with Plaintiff’s rights and interests in access to her cellular telephone and

  telephone line; (2) intruding upon Plaintiff’s seclusion and privacy; (3) wasting Plaintiff’s time

  and mental energy; (4) depleting the battery life on Plaintiff’s cellular telephone; (5) using

  memory storage space in Plaintiff’s cellular telephone; and (6) causing Plaintiff aggravation,

  indignation, humiliation, embarrassment, anxiety, anguish, depression, unwarranted stress and

  loss of enjoyment of life.

       40.       As a result of the above violations of the FCCPA, pursuant to Florida Statute

  §559.77(2), Plaintiff is entitled to recovery for actual damages, statutory damages of up to

  $1,000.00, together with reasonable attorneys’ fees and court costs.

         WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant,

  Wells Fargo Bank, N.A. for actual damages, statutory damages, along with costs and reasonable

  attorneys’ fees pursuant to Florida Statutes § 559.77(2), and for such other and further relief as

  justice may require.

             COUNT III- VIOLATION OF THE TCPA, 47 U.S.C § 227(b)(1)(A)(iii)

       41.       Plaintiff repeats, realleges and incorporates by reference herein paragraphs 1

  through 25 above.

       42.       Wells Fargo placed many non-emergency calls, including but not limited to the




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  calls referenced above, to Plaintiff’s cellular telephone using an automatic telephone dialing

  system in violation of 47 U.S.C § 227(b)(1)(A)(iii).

       43.       It is a violation of the TCPA, 47 U.S.C. § 227(b) to call a person’s cellular

  telephone by using an automatic telephone dialing system or prerecorded message without that

  person’s prior express consent.

       44.       Plaintiff did not expressly authorize Wells Fargo to call her cellular telephone in

  service of Wells Fargo’s general business aims. Further, Plaintiff’s instructions to cease calls

  effectively revoked any prior consent Wells Fargo may believe it had. See Osorio v. State Farm

  Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       45.       Upon information and belief, the aforesaid calls to Plaintiff’s cellular telephone

  were placed using an automated telephone dialing system and/or employed a prerecorded voice

  message. These calls bore telltale signs of an automation, such as a prerecorded message or a

  noticeable gap between picking up the call and a human being coming on the line.

       46.       According to findings by the Federal Communication Commission (―FCC‖), the

  agency Congress vested with authority to issued regulations implementing the TCPA, such calls

  as those alleged herein are prohibited because, as Congress found, automated or prerecorded

  telephone calls are a greater nuisance and invasion of privacy, and such calls can be costly and

  inconvenient. Rules and Regulations Implementing the Telephone Consumer Protection Act of

  1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd. 14014 (2003).

       47.       Wells Fargo’s method of contacting Plaintiff is indicative of its ability to dial

  numbers without any human intervention in the calling process, which the FCC has opined is the

  hallmark of an automatic telephone dialing system (i.e. auto-dialer). See In the Matter of Rules

  & Regulations Implementing The Telephone Consumer Protection Act of 2008, CG Docket No.




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  02-278, FCC 07-232 (1/4/08) ¶¶ 11-13; In the Matter of Rules & Regulations Implementing the

  Telephone Consumer Protection Act of 1991, 2003 WL 21517583, 18 F.C.C.R. 14014, ¶ 132

  (Fed. Commc’n Cmm’n July 3, 2003).

       48.       Under the TCPA, and pursuant to the FCC’s January 2008 Declaratory Ruling, the

  burden is on Wells Fargo to demonstrate that Plaintiff provided express consent within the

  meaning of the statute. See FCC Declaratory Ruling, 23 F.C.C.R. at 565 (¶ 10).

       49.       Wells Fargo, through its agents, representatives and/or employees acting within

  the scope of their authority, acted willfully and therefore intentionally violated the TCPA, 47

  U.S.C § 227 (b)(1)(A)(iii). Pursuant to the FCC’s interpretation regarding willfulness, ―willful or

  knowing‖ requires merely that ―the violator knew that he was doing the act in question. . . . A

  violator need not know that his action or inaction constitutes a violation.‖ In re Dynasty Mortg.,

  L.L.C., 22 F.C.C. Rcd. 9453, 9470 n.86, 2007 WL 1427724 (F.C.C. May 14, 2007).

       50.       Congress enacted the TCPA to prevent real harm. Congress found that

  ―automated or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type

  of call‖ and decided that ―banning‖ such calls made without consent was ―the only effective

  means of protecting telephone consumers from this nuisance and privacy invasion.‖ Pub. L. No.

  102-243, §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227. See also Mims v. Arrow Fin.

  Servs., L.L.C., 132 S. Ct. 740, 744, 181 L. Ed. 2d 881 (2012) (―The Act bans certain practices

  invasive of privacy‖).

       51.       In sum, Wells Fargo made telephone calls to Plaintiff’s cellular telephone, which

  were either initiated by an automatic telephone dialing system and/or contained a pre-recorded

  message and were made without the prior express consent of Plaintiff.

       52.       Wells Fargo’s phone calls harmed Plaintiff by causing the very harm that




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   Congress sought to prevent—a ―nuisance and invasion of privacy.‖

        53.       Wells Fargo’s phone calls also harmed Plaintiff by (1) trespassing upon and

   interfering with Plaintiff’s rights and interests in access to her cellular telephone and telephone

   line; (2) intruding upon Plaintiff’s seclusion and privacy; (3) wasting Plaintiff’s time and mental

   energy; (4) depleting the battery life on Plaintiff’s cellular telephone; (5) using memory storage

   space in Plaintiff’s cellular telephone; and (6) causing Plaintiff aggravation, indignation,

   humiliation, embarrassment, anxiety, anguish, depression, unwarranted stress and loss of

   enjoyment of life.

        54.       As a result of Wells Fargo’s violations of 47 U.S.C. § 227 et seq., Plaintiff is

   entitled to an award of $1,500.00 in statutory damages, for each and every willful or knowing

   violation, pursuant to 47 U.S.C. § 227(b)(3)(C), and $500.00 in statutory damages, for each and

   every negligent violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

        55.       Plaintiff is also entitled to injunctive relief prohibiting Wells Fargo from

   contacting the Plaintiff on her cellular phone using an automated dialing system pursuant to the

   47 U.S.C. § 227(b)(3)(a).

          WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant,

   Wells Fargo Bank, N.A. for statutory damages of $1,500.00 for each and every violation, an

   order be entered enjoining Defendant from calling Plaintiff’s cellular telephone by use of an

   automatic dialing system, and for such other and further relief as justice may require.




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                               DEMAND FOR JURY TRIAL

        Plaintiff, Lutherene Anderson, hereby demands a trial by jury of all issues so triable.


                                      /s/ Anthony C. Norman
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